Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 1of 26

EXHIBIT E
Case 1:22-cv-05134-MLB Document 47-5

Filed 06/24/25

Page 2 of 26

symbol, cik, or name ...

Sec Form 4 Filing - COMMISSIONG GERALD @ TODOS MEDICAL LTD. - 2021-06-30

Insider filing report for Changes in Beneficial Ownership

"Insiders might sell their shares for any number of reasons, but they buy them for only one: they think the price will rise"

- Peter Lynch
What is insider trading> >

Here is the list of insider trading transaction codes

FORM 4

Check this box if no
longer subject to
Section 16, Form 4

UNITED STATES SECURITIES AND EXCHANGE

COMMISSION

Washington, D.C. 20549

STATEMENT OF CHANGES IN BENEFICIAL

OMB APPROVAL

OMB Number: 3235-0287

Expires: November 30, 2011

Estimated average burden hours

per response... 0.5

or Form 5

obligations may OWNERSHIP

continue. See Filed pursuant to Section 16(a) of the Securities Exchange Act of 1934, Section 17(a) of the

Instruction 1(b). Public Utility Holding Company Act of 1935 or Section 30(h) of the Investment Company

Act of 1940
1. Name and Address of Reporting Person 2. Issuer Name and Ticker or Trading Symbol 5. Relationship of Reporting Person(s) to Issuer
\COMMISSIONG GERALD TODOS MEDICAL LTD. [TOMDF] _[(<heckall applicable)
- - X __ Director 10% Owner
(Last) (First) (Middle) 3. Date of Earliest Transaction (MM/DD/YY) X _ Officer (give title Other (specify below)

(C/O TODOS MEDICAL LTD., 121 DERECH MENACHEM06/30/2021 below)

BEGIN, 30TH FLOOR

CEO and Director

(Street) 4. If Amendment, Date Original Filed (MM/DD/YY) _|6. Individual or Joint/Group Filing (Check Applicable
TEL AVIV, 136701203 Line)
|__X __ Form filed by One Reporting Person
(City) (State) (Zip)

Form filed by More than One Reporting Person

Table I - Non-Derivative Securities Acquired, Disposed of, or Beneficially Owned

1.Title of Security 2. 2A. Deemed | 3. 4. Securities Acquired (A) or} 5. Amount of | 6. 7. Nature
(Instr. 3) Transaction | Execution Transaction Disposed of (D) Securities Ownership | of Indirect
Date Date, if any | Code (Instr. 3, 4 and 5) Beneficially Form: Beneficial
(MM/DD/YY) (MM/DD/YY) (Instr. 8) Owned Direct (D) | Ownership
Following or Indirect | (Instr. 4)
Reported ()
(A) or Transaction(s) | (Instr. 4)
Codé V | Amount (D) Price | (Instr. 3 and 4)
. $ 0.034
Ordinary Shares 06/30/2021 P 1,051,480 A ww 1,051,480 D
Ordinary Shares 78,025,645 ! See
footnote £2

Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 3 of 26

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Table II - Derivative Securities Acquired, Disposed of, or Beneficially Owned
(e.g. , puts, calls, warrants, options, convertible securities)

1. Title | 2. 3. BA. 4. 5. Number of 6. Date 7. Title and 8. Price | 9. 10. 11,
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Report ing Owners Signatures
Relationships /s/ Gerald Commissiong 07/08/2021
Reporting Owner Name /
Address 10% Signature of Reporting Person Date
Director] Owner Officer Other
COMMISSIONG GERALD
C/O TODOS MEDICAL LTD.
CEO and

121 DERECH MENACHEM BEGIN, xX
30TH FLOOR
TEL AVIV, L36701203

Director

Explanation of Responses:

(1 )Shares were purchased for an average price of $0.034 per share.

( 2 )Shares are held by Amarantus Bioscience Holdings, Inc. Mr. Commissiong is the Executive Chairman and
controlling shareholder of Amarantus and in such capacity holds voting and dispositive power over the securities
held by such entity.

Reminder: Report on a separate line for each class of securities beneficially owned directly or indirectly.

* If the form is filed by more than one reporting person, see Instruction 4(b)(v).

** Intentional misstatements or omissions of facts constitute Federal Criminal Violations. See 18 U.S.C. 1001 and 15 U.S.C. 78ff(a).

Note: File three copies of this Form, one of which must be manually signed. If space is insufficient, see Instruction 6 for procedure.
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Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 5 of 26

Table li - Derivative Securities Acquired, Disposed of, or Beneficially Owned
(e.g. , puts, calls, warrants, options, convertible securities)

1. Title | 2. 3. 3A. 4, 5. Number of 6. Date 7. Title and 8. Price | 9. 10. 11.
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Date | Expiration of Transaction(anstr.
Codé V (A) (D) ExercisalsleDate Title Shares (Instr. 4) | 4)
Reporting Owners Signatures
Relationships /s/ Gerald Commissiong 08/24/2022
Reporting Owner Name / Sa
Address 10% Signature of Reporting Person Date
Director} Owner Officer Other

COMMISSIONG GERALD
C/O TODOS MEDICAL LTD.
121 DERECH MENACHEM BEGIN, Xx
30TH FLOOR

TEL AVIV, L36701203

CEO and
Director

Explanation of Responses:

(1)Shares are held by Amarantus Bioscience Holdings, Inc. Mr. Commissiong is the Executive Chairman and
controlling shareholder of Amarantus and in such capacity holds voting and dispositive power over the securities
held by such entity.

Reminder: Report on a separate line for each class of securities beneficially owned directly or indirectly.

* If the form is filed by more than one reporting person, see Instruction 4(b)(v).

** Intentional misstatements or omissions of facts constitute Federal Criminal Violations. See 18 U.S.C. 1001 and 15 U.S.C. 78ff(a).

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LB Document 47-5

Filed 06/24/25

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symbol, cik, or name...

Sec Form 4 Filing - COMMISSIONG GERALD @ TODOS MEDICAL LTD. - 2023-03-28

Insider filing report for Changes in Beneficial Ownership

"Insiders might sell their shares for any number of reasons, but they buy them for only one: they think the price will rise"

~ Peter Lynch
What is insider trading> >

Here is the list of insider trading transaction codes

FORM 4

Check this box if no
longer subject to
Section 16. Form 4

UNITED STATES SECURITIES AND EXCHANGE

COMMISSION

Washington, D.C. 20549

STATEMENT OF CHANGES IN BENEFICIAL

OMB APPROVAL

OMB Number: 3235-0287

Expires: November 30, 2011

Estimated average burden hours

per response... 0.5

or Form 5

obligations may OWNERSHIP

continue. See Filed pursuant to Section 16(a) of the Securities Exchange Act of 1934, Section 17(a) of the

Instruction 1(b). Public Utility Holding Company Act of 1935 or Section 30(h) of the Investment Company

Act of 1940
|. Name and Address of Reporting Person 2. Issuer Name and Ticker or Trading Symbol 5. Relationship of Reporting Person(s) to Issuer
ICOMMISSIONG GERALD TODOS MEDICAL LTD. [ TOMDF] [Check all applicable)
XX _ Director __ 10% Owner
(Last) (First) (Middle) 3. Date of Earliest Transaction (MM/DD/YY) X __ Officer (give title ____ Other (specify below)

C/O TODOS MEDICAL LTD., 121 DERECH MENACHEM(03/28/2023 below)

BEGIN, 30TH FLOOR

CEO and Director

(Street) “. If Amendment, Date Original Filed (MM/DD/YY) —_|6. Individual or Joint/Group Filing (Check Applicable
TEL AVIV, L36701203 Line)
__ X __ Form filed by One Reporting Person
(City) (State) (Zip)

Form filed by More than One Reporting Person

Table I - Non-Derivative Securities Acquired, Disposed of, or Beneficially Owned

1. Title of Security 2. 2A. Deemed | 3. 4. Securities Acquired (A) or] 5. Amount of | 6. 7. Nature
(Instr. 3) Transaction | Execution Transaction Disposed of (D) Securities Ownership | of Indirect
Date Date, if any | Code (Instr. 3, 4 and 5) Beneficially Form: Beneficial
(MM/DD/YY}} (MM/DD/YY) (Instr. 8) Owned Direct (D) | Ownership
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(A) or Transaction(s) | (Instr. 4)
Codé V_ | Amount (D) Price | (Instr. 3 and 4)
Ordinary Shares 03/28/2023 P 5,000,000) A : 7,055,680 D
0.0009
Ordinary Shares 78,025,645 | See
footnote 4

Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 7 of 26

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Table II - Derivative Securities Acquired, Disposed of, or Beneficially Owned
(e.g. , puts, calls, warrants, options, convertible securities)

1. Title | 2. 3. 3A. 4. 5. Number of 6. Date 7. Title and 8. Price | 9. 10. 11.
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Relationships /s/ Gerald Commissiong 03/29/2023
Reporting Owner Name / Address 10% Signature of Reporting Person Date
Director] Owner Officer Other
COMMISSIONG GERALD
C/O TODOS MEDICAL LTD.
CEO and

121 DERECH MENACHEM BEGIN, 30TH X
FLOOR
TEL AVIV, L36701203

Director

Explanation of Responses:

(1)Shares are held by Amarantus Bioscience Holdings, Inc. Mr. Commissiong is the Executive Chairman and
controlling shareholder of Amarantus and in such capacity holds voting and dispositive power over the securities
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Insider Trading & Ownership - COMMISSIONG GERALD

Insider Trading | Portfolio Holdings

Real time insider trading transaction history:

e Insiders are prohibited from making short-swing profits by trading their shares within 6 months of the registration
or acquiring the shares.

® Shares are not adjusted for stock split.

What is insider trading> >

"Insiders might sell their shares for any number of reasons, but they buy them for only one: they think the price will rise”
- Peter Lynch

Time period 5 Years

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Insider Trading - COMMISSIONG GERALD
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CEO and Director Direct)

Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 9 of 26

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Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 10 of 26

?, GEORGIA

GEORGIA SECRETARY OF STATE

“T9-) CORPORATIONS BRAD RAFFENSPERGER
LE" DIVISION
HOME (/)
BUSINESS SEARCH lb
BUSINESS INFORMATION

Provista Diagnostics,

Business Name:
Inc.

Control Number: 20036412
Foreign Profit

Business Type: Corporation

Business Status: Active/Compliance

Professional, Scientific,
and Technical Services

2001 Westside Parkway,

NAICS Code: NAICS Sub Code: Testing Laboratories

Date of Formation /

Principal Office Address: Suite 240, Alpharetta, Reaistration Date: 3/4/2020
GA, 30004, USA 9
Jurisdiction: Delaware Last Annual Registration 2024

Year:

REGISTERED AGENT INFORMATION

Registered Agent Name: Daniel Hirsch
Physical Address: 2001 Westside Parkway, Suite 240, Alpharetta, GA, 30004, USA
County: Fulton

OFFICER INFORMATION

Name Title Business Address

Daniel Hirsch : Secretary ~ 2001 Westside Parkway, Suite 240, Alpharetta, GA, 30004, USA -
Daniel Hirsch CFO 40 Wall Street, Suite 2702, New York, GA, 10005, USA

Gerald Commisiong CEO 40 Wall Street, Suite 2702, New York, NY, 10005, USA

SLE Filing History Name History

Return to Business Search

Office of the Georgia Secretary of State Attn: 2 MLK, Jr. Dr. Suite 313, Floyd West Tower Atlanta, GA 30334-1530,
Phone: (404) 656-2817 Toll-free: (844) 753-7825, WEBSITE: https://sos.ga.gov/
© 2015 PCC Technology Group. All Rights Reserved. Version 6.2.19 Report a Problem?
Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 11 of 26

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HEALTH Syee"

20+ Years of Innovative Research

A next generation diagnostic test that measures the Tollo Health protease biomarker in human tissue for
viral load, contagiousness, and active disease throughout the body

A High-Value Spinoff

Tollo Health Pharma is a high-value spinoff of parent companies Todos Medical and NLC Pharma. Todos Medical, led by
President and CEO Gerald Commissiong, is a diagnostics research company specializing in the development of life-
saving solutions for the immune system. NLC Pharma, founded by Dr. Dorit Arad, is a computational chemistry company
specializing in drug and diagnostic discovery.

While the initial global strategy for managing the spread and incidence of COVID-19 has been to rely upon herd immunity
through vaccination, there have been limitations to this approach. As a result, new opportunities to combat COVID-19
have presented themselves. Tolio Health has been using the Tollo Health Protease inhibitor to stop the COVID-19 virus’
ability to replicate itself and stop the spread.

Tollo Health will be launching a crowdfunding initiative to fund the requirements for an Emergency Use Authorization
(EUA) submission to the FDA for Product 1 to treat hospitalized COVID-19 patients, the clinical development of Product 1,
Product 2 and Product 3 for Long COVID.
Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 12 of 26

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HEALTH “Sye0"

Product 1: is a botanically-sourced oral anti-viral drug. It’s a highly potent dual mechanism Tolio
Health protease inhibitor as a COVID-19 therapeutic with anti-cytokine properties.

Preduct 2: is an Immune supplement thal crovides support for respiratory tract infections and
is the only known commercial product with a ciaim for Tollo Health protease inhibition.

Product 3: is a Tollo Health protease diagnostic test that measures the presence of active Tollo
Health protease in clinical samples. Product 3 provides a more comprehensive result and
measures the arount of active Toila Health protease as an indicator of angaing COVID-79.

Meet Our Experienced Team
Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 13 of 26

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Chief Executive Officer and Director

Mr. Commissiong serves as Chief Executive Officer and a member of the Board of Directors of Todos Medical.
He has over ten years of experience in therapeutic and diagnostic development, including all aspects of
product licensing, research collaborations, and go-to-market strategies. He is the former CEO and co-founder
of Amarantus Bioscience, a company that developed LymPro, an Alzheimer's diagnostic currently being
advanced by Todos Medical. Mr. Commissiong has raised over $70 million in research capital to forward
numerous scientific development programs, including those currently underway at Todos. He is a former
professional football player for the Calgary Stampeders of the Canadian Football League who received a
Bachelor of Science degree in Management Science and Engineering with a focus in Financial Decisions from

Stanford University
Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 14 of 26

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HEALTH 5-0"

Chief Executive Officer and Director

Dr. Dorit Arad, a pioneering force in pharmaceutical innovation, holds a Ph.D. in physical organic chemistry from
the Technion and boasts over 25 years of experience in the life sciences industry. As the Founder and CTO of
a leading pharmaceutical company, she has spearheaded groundbreaking initiatives focused on metabolic
disorders, including cancer. Dr. Arad’s expertise spans academia and industry, from her role as a chemist at the
Technion to serving as a professor at Tel Aviv University, specializing in Computer-assisted Drug Design from
UCSF. With a track record of over 100 peer-reviewed scientific papers and more than 50 international patents,
Dr. Arad has played key roles in developing revolutionary technologies such as Quantum Core Technology
(QCT). Her visionary leadership has Jed to the establishment of MDSURE LTD, an Israeli company dedicated to
providing personalized diagnostics and integrative treatment protocols for cancer patients. Dr. Dorit Arad

stands at the forefront of advancing healthcare solutions, shaping the future of personalized medicine
Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 15 of 26

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HEALTH °6%*%e*

Chief Financial Officer, MPH and Director

Dan Hirsch is a seasoned Managing Partner with over two decades of experience in investment banking,
specializing in areas such as Investor Relations, Venture Capital, and Equities. Currently holding the position of
Managing Partner at First Line Capital since 2002 and having served as the Chief Financial Officer at Todos
Medical Ltd from 2020 to 2023, Dan has a proven track record of success. With a Master‘s degree in Healthcare
Administration from The New School, his expertise extends to corporate turnarounds and significant
contributions to expansion activities, notably at Hackensack University Medical Center. Dan’s strategic acumen
and commitment to excellence have solidified his standing as a respected professional in the financial and

healthcare industries.
Case 1:22-cv-05134-MLB Document 47-5 Filed 06/24/25 Page 16 of 26

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HEALTH ve

Stay updated on our latest breakthroughs

Sign up to learn more about how Tollo Health is focused on developing therapeutics, diagnostics, and dietary
supplements.

Contact Us

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Mi info@tollohealth.com
BF @tollohealth

f Tollo Health

Newsletter

: Email Address

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Ej Amarantus Amarantus Releases Letter to Shareholders
Amarantus
BioScience

Amarantus Releases Letter to
Shareholders

February 04,2020 | Source: Amarantus Bioscience a

09:54 ET Holdings, Inc.
Share New York, NY, Feb. 04, 2020 (GLOBE NEWSWIRE} -- via
f NEWMEDIAWIRE -- Amarantus Bioscience Holdings, Inc. (OTC

Pink: AMBS) (“Amarantus,” or AMBS), a biotechnology holding
company pursuing proprietary therapeutics and diagnostics, as
well as CBD Wellness through its subsidiaries, today released a

in
eg letter to shareholders:
Mi

Dear Shareholders,

On Thursday, January 30th, 2020, Amarantus announced the
acquisition of a controlling interest in CBD Wellness Company
Hempori, Inc, based in Dallas, TX. This transaction was
completed 9 months after announcing that we were formally
evaluating expanding into the legal hemp industry. With the
acquisition of Hempori, Amarantus has added a cash-flow
generating business unit that has the potential to drive equity
value substantially while the investments we have made into
our biopharmaceutical and diagnostics portfolios continue to
mature. Given Amarantus' existing partnerships with Emerald
Organic Products in therapeutics, and with Todos Medical and

Avant Diagnostics in the diagnostics lab testing space, we now

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Amarantus Amarantus Releases Letter to Shareholders

BioScience

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Download PDE
Hempori customers to determine exactly how CBD can Subscribe via Bes
potentially improve symptoms associated with ailments that tribe via ATOM

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are poorly managed with traditional healthcare solutions. We
believe the CBD movement emerging in the US is driven largely
by dissatisfaction with the pharmaceutical industry that relies
heavily on prescription drugs to treat symptoms caused by
other prescription drugs to drive growth, and we believe there
may be wellness alternatives that could ultimately lead to
improved outcomes at lower overall healthcare costs, with CBD

being a driving force moving the market in this direction.

Hempori Acquisition

After over 18 months of due diligence into the CBD space in
general, and over 12 months of due diligence into Hempori
specifically, we decided to invest in the CBD retail space for the

following reasons:

CBD Space in General

*« Cowen Research expects the US CBD Market to grow from
~$1 billion in 2018 to ~$16 billion by 2025;

« In early 2019, Cowen research conducted a market survey
that showed 7% of respondents had used CBD asa
supplement, and we expect the percentage of people
using CBD will go up annually as the clinical utility of CBD
(and other non-psychoactive cannabinoids) products
becomes clearer through collection and analysis of user
data;

« Significant education is required to educate consumers
about CBD, leading to a high-value being placed on
‘touching the customer,’ and on being able to engage in
data collection on customer behavior and experience, with
high gross margins for retailers;

*« We believe most consumers and prospective buyers of
CBD products are generally people with medical problems
looking to identify alternative wellness solutions for
symptoms that are poorly managed by traditional
healthcare products. These customers are looking to
physically engage with the providers of CBD-based

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symptom improvement related to an underlying medical
condition, with strong customer retention having been
demonstrated over the last 12 months. We have also heard
from customers that Hempori's products may be
significantly better than those of competitors in the
marketplace. We reviewed several anecdotal case studies
suggesting that there may be benefit to using Hempori
products, although further research and objective data
generation will ultimately be required to be able to make
claims. These same customers seeking specific individual
solutions also tend to identify other products that they
believe may improve their health and wellness, and
therefore commit additional monthly resources to
purchasing CBD products;

*« Hempori stores offer an attractive go-to-market strategy in
CBD that leaves flexibility to adapt to emerging trends and
products, while continually capturing real-world consumer
data to make product and marketing decisions to improve
the customer experience, This will allow us to tailor
products and education services for specific categories of
customers;

¢ Hempori has begun to leverage its storefront properties to
drive online sales to its loyal customer base through
monthly automatic re-orders, while beginning to build
strong brand awareness as customers share their
experiences, leading to genuine online engagement about
how Hempori's products could potentially help new
customers;

* The team at Hempori recognizes that CBD is part of a
larger ‘plant-based’ wellness trend in the overall
marketplace where people believe that wellness solutions
derived from plants grown naturally may improve human
and animal health in natural ways that are fundamentally
different from solutions derived from chemical synthesis-
based compounds (including an emerging view, for
example, that broad spectrum distillate CBD has greater
potential vs. CBD isolate). We are working with Hempori to
evaluate adding other plant-based solutions (mushrooms,
or others) to the storefront offering in order to deliver our
customers with more options to attempt to improve their
health and well-being.

We intend to spend the first quarter looking to identify new
sales channels for Hempori's leading products, and invite
shareholders in Dallas to visit the Hempori stores in-person,

and for those not in the Dallas area interested in trying

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3. Tinctures: https://hempori.square.site/product/S000mg-
tincture-hempori-cbd/14

Hempori has several other products available at online store,
including dog treats. Hempori's online store is at:

https://nempori.square.site/.

Todos Medical option to acquire Provista Dx and

Management Changes

On January 9th, 2020, our blood testing joint venture partner
Todos Medical announced that it entered into an exclusive
option agreement to acquire breast cancer blood testing
company Provista Diagnostics. Concurrent with this
announcement, | was appointed as CEO of Todos primarily to
help Todos implement its plans to bring its blood testing
technologies into the US market and list its common stock onto
a US national stock exchange, which would ultimately create
substantial value for Amarantus as a significant shareholder in
Todos. As part of this initiative, we are working to complete the
all-stock acquisition of Amarantus’ subsidiary Breakthrough
Diagnostics into Todos Medical in the near future.
Breakthrough is developing the Alzheimer’s blood diagnostic
LymPro Test, that is based upon the scientific theory that
Alzheimer’s is essentially cancer of non-dividing cells that get
stuck in an immune-mediated post-mitotic aberrant cell cycle
cellular division process that causes the overproduction of
canonical Alzheimer's proteins amyloid-beta and tau, as well as
several other markers of Alzheimer’s. Prior peer-reviewed work
suggests LymPro has significant clinical value, and a recent
interim analysis of 20 subjects in an ongoing clinical study
being conducted at Leipzig University seeking to evaluate the
relationship between amyloid PET radiolabeled tracers and

LymPro demonstrated strong concordance between amyloid

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years,

With regards to the near-term commercial focus of Todos
which is in the area of breast cancer, Provista Diagnostics has
received investments of over $50M which it has used to develop
a stable, antibody-based simple blood test that measures the
presence of Tumor-associated Auto-Antibodies (TAAbs) and
Serum Protein Biomarkers (SRPs) that shows strong negative
predictive value (97-99%) for the presence of breast cancer in
BI-RADS III/IV population (high percentage of ‘dense breast’
subjects), as well as in the 25-50 year-old population for which
fewer screening alternatives exist because of CDC's recent
guideline changes moving the age for initial mandatory
mammogram screening for breast cancer to 50 years old
because of the risk associated with cumulative exposure to
radioactive agents that potentially cause more cancers than
they find. With analytical and clinical validity now well-
established in the peer-reviewed literature for its Videssa®
breast cancer blood test after testing in prospective clinical
studies in over 1100 human subjects, and a CLIA/CAP certified
lab in place to support product launch, Provista will now be
focused on reimbursement-enabling clinical studies that we
expect will allow Videssa to demonstrate its value to payers by
mitigating the need for unnecessary biopsies. Based on
projections derived from certain clinical sites in Videssa's most
recent clinical trials, unnecessary biopsies may be reduced by
up to over 43% with the data provided by Videssa in the BI-
RADS IV population, with even greater value in the BI-RADS III
population, where unnecessary biopsies were expected to be
reduced by 87%. On a combined BI-RADS III/IV basis, reduction

in biopsy was projected to be over 45%.

The BI-RADS III/IV (dense breast) population represents

anywhere between 20-60% of the population, depending on

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acquisition, we believe Videssa's strong data will allow it to
sequentially move from its existing CPT code stacking strategy
for reimbursement towards a unique code that will allow
Videssa to gain value-based, stable reimbursement from third-
party payers and dramatically increase the pool of physicians
and patients who routinely use Videssa to help make decisions
about whether to seek additional more invasive testing for
breast cancer. In parallel, Todos’ TM-B1 and TM-B2 assays will
gain valuable information by piggybacking on Videssa’s patient
flow to will improve their accuracy by training TBIA's Al-driven
algorithm in prospective studies to not only demonstrate
equivalence to Videssa's negative predictive value data, but
also show superior data in positive predictive value that could
ultimately allow TM-B1 assay to become a credible alternative

to mammograms.

According to a recent research report by Absolute Reports, the
global Breast Biopsy market size will grow from under $550
Million in 2017 to over $1 billion by 2023, with an estimated
CAGR of 11.0%. Major factors fueling market growth are the
rising incidences of breast cancer among women and increase
in breast cancer screening programs in different countries. In
addition to this, the increase in reimbursement rates in U.S. for
image-guided biopsy and the growing demand for less-invasive
breast biopsy are propelling the growth of the market. The
breast cancer treatment market is expected to grow from $16
billion annually in 2018 to over $35 billion by 2025. It has been
demonstrated that early diagnosis for breast cancer leads to
substantially improved patient outcomes and lower costs. The
size of the overall mammogram breast screening market is
expected to surpass $5.4 billion annually in the United States by
2022, making it an increasingly costly burden to the US
healthcare svstem. The breast cancer blood testina market is

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healthcare system and lead to overall improved patient

outcomes.

The Company's plan to complete its recapitalization has taken
significant strides forward in the recent weeks with the
progress at Todos and acquisition of Hempori. The Company's
previously announced transaction with Emerald on its
therapeutics portfolios is beginning to make progress, and we
expect to make announcements on some of that progress in
the near future. Amarantus is continuing to negotiate with its
Elto Pharma JV partner Psychogenics, Inc. and Emerald for the
rights to eltoprazine to be added to the Company's existing

license with Emerald for MANF and ESS.

Taken together, in the last several month the Company has
added significant equity value to its balance sheet via the
Emerald transaction, with additional equity to be added via the
completion of the sale of Breakthrough Diagnostics to Todos
Medical. These transactions are expected to more than offset
our outstanding liabilities (the majority of which will be
equitized as we achieve certain value-building recapitalization
milestones), and pave the way for value appreciation to occur
through growth in our recently-acquired Hempori business
unit, as well as delivery on various milestones in our partnered
Cutanogen, MANF Therapeutics, Elto Pharma, Avant

Diagnostics, and Breakthrough Diagnostics business units.

We believe the Company has positioned itself in preparation for
its pending Regulation A offering to be able to raise capital
based on existing net value (combination of the value of
Emerald equity ownership plus the royalty on therapeutic

portfolio, the value of equity ownership in Todos and the value

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management changes Amarantus announced it was evaluating

in Q1/2019 as funding becomes available through the Reg Ato

retain the right executive to take the Company into the future.

We would like to thank you for continuing to be a shareholder
and will provide updates as the Company continues to make

progress in its plans.

Warm Regards,

Gerald Commissiong

President & CEO

About Amarantus Bioscience Holdings, Inc.

Amarantus Bioscience Holdings (AMBS) is a JLABS alumnus
biotechnology company developing treatments and
diagnostics for diseases in the areas of neurology, regenerative
medicine and orphan diseases through its subsidiaries. The
Company is also operating wellness stores in the United States

through its majority-owned subsidiary Hempori, Inc.

Hempori

Amarantus owns 51% of Hempori, Inc. The Hempori brand is
active in the Hemp industry and has over 75 products that are
sold in its own stores in Dallas, Texas and online via
Hempori.com. Hempori has developed unique proprietary
products in the Hemp industry and is actively engaged with

researchers to gather data regarding the utility of its products.

Diagnostics

The Company's 80.01%-owned subsidiary Breakthrough
Diggnostics, Inc, currently a joint venture with Todos Medical,
Ltd. has licensed intellectual property rights to the Alzheimer's
blood diagnostic LymPro Test ® from Leipzig University that

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frist half of 2020. Amarantus also owns approximately 30% of

the common shares of Avant Diagnostics, Inc, a tumor analysis

company developing Theralink®, the proprietary

phosphoprotein tumor analysis platform run using reverse

phase protein array (RPPA) platform.
Therapeutics

AMBS' 50.1%-owned subsidiary Elite Pharma, [ne. has
development rights to eltoprazine, a Phase 2b-ready small
molecule indicated for Parkinson's disease levodopa-induced
dyskinesia, Alzheimer’s aggression and adult attention deficit

hyperactivity disorder, commonly known as ADHD. AMBS

acquired Cutanogen Corporation from Lonza Group in 2015
and currently owns 90.1% of that subsidiary. Cutanogen is
preparing for pivotal studies with Engineered Skin Substitute
(ESS) for the treatment of pediatric life-threatening severe
burns. ESS is a regenerative medicine-based, autologous full-
thickness skin graft technology originally developed by the
Shriner's Hospital that can be used to treat severe burns, as well
as several other catastrophic and cosmetic dermatological

indications. AMBS' wholly-owned subsidiary, MANF

Therapeutics Inc. owns key intellectual property rights and
licenses from a number of prominent universities related to the
development of the therapeutic protein known as
mesencephalic astrocyte-derived neurotrophic factor (“MANF").
MANF Therapeutics is developing MANF-based products as
treatments for ophthalmological disorders such as Wolfram
Syndrome, Retinitis Pigmentosa and Glaucoma, as well as
neurodegenerative diseases such as Parkinson's disease. MANF
was discovered by the Company's Chief Scientific Officer John
Commissiong, PhD, Dr. Commissiong discovered MANF from

AMBS' proprietary discovery engine PhenoGuard, and believes

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Notice Regarding Forward-Looking Statements

This letter contains forward-looking statements, about the
Company's expectations, beliefs or intentions regarding,
among other things, its product development efforts, business,
financial condition, results of operations, strategies or
prospects. Forward-looking statements can be identified by the
use of forward-looking words such as “believe,” “expect,”
“intend,” “plan,” “may,” “should” or “anticipate” or their
negatives or other variations of these words or other
comparable words or by the fact that these statements do not
relate strictly to historical or current matters. Forward-looking
statements relate to anticipated or expected events, activities,
trends or results as of the date they are made. Because
forward-looking statements relate to matters that have not yet
occurred, these statements are inherently subject to risks and
uncertainties that could cause actual results to differ materially
from any future results expressed or implied by the forward-
looking statements. Many factors could cause actual activities
or results to differ materially from the activities and results
anticipated in such forward-looking statements, including, but
not limited to, the factors summarized in the filings with the
SEC. Amarantus does not undertake any obligation to publicly
update these forward-looking statements, whether as a result

of new information, future events or otherwise.

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